Case 2:05-cr-20l44-.]PI\/| Document 26 Filed 06/27/05 Page 1 of 2 Page|D 29

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DlvrsroN
UNITED STATES OF AMERICA
V.
ANGELINA GRANATA
ORDER REVOKING BOND

 

This cause came on to be heard on JUNE 24, 2005 on the motion of the United States to revoke defendant’s bond.
After hearing the proof presented and argument of counsel, the Court, pursuant to 18 U.S.C. § 3 1481

( l) finds that there is -

[ ] Probable cause to believe that the person has committed a Federal, State, or local crime while on
release; and/or

[ ] Clear and convincing evidence that the person has violated any other condition of
release; and

(2) finds that there is _

[ ] Based on the factors set forth in section 3142(g) of this title, there is no condition
or combination of conditions of release that will assure that the person will not flee or pose a
danger to the safety or any other person or the community; and/or

[ } The person is unlikely to abide by any condition or combination of conditions of release.

(3) The defendant makes no application for release at this time. A motion for conditions of release
and a detention hearing may be filed at a later date.

Based on these findings, it is hereby ordered that defendant's bond is REVOKEI).
DIRECTIONS REGARI)ING DETENTION

ANGELINA GRANATA is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal ANGELINA GRANATA shall be afforded a
reasonable opportunity for private consultation with defense counsel On order of a Court of the United States or
on request of an attorney for the government, the person in charge of the corrections facility shall deliver the
Defendant to the United States marshal for the purpose of an appearance in connection with a Court proceeding

IT IS SO ORDERED THIS 24TH DAY OF JUNE 2005.
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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

